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     A Professional Law Corporation
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     Attorneys for Defendant JUVENAL JUNEZ
7

8                                UNITED STATES DISTRICT COURT
9
                                 EASTERN DISTRICT OF CALIFORNIA
10

11

12   THE UNITED STATES OF AMERICA,                    Case No.: 2:13-CR-0166 LKK

13                  Plaintiff,

14   vs.                                              MOTION FOR MODIFICATION OF
                                                      RELEASE CONDITIONS, STIPULATION
15
     JUVENAL JUNEZ,                                   AND PROPOSED ORDER REGARDING
                                                      USE OF ALCOHOL
16
                    Defendant.
17

18         UNOPPOSED MOTION FOR MODIFICATION OF CONDITIONS OF RELEASE TO
19
                                 PERMIT ALCOHOL CONSUMPTION
20

21   Defendant, Juvenal Junez, by and through his counsel, Mary Ann F. Bird, respectfully requests
22
     this Court to issue an order modifying Defendant’s abstinence from alcohol to an order as set
23
     forth below:
24
           A. YOU SHALL REFRAIN FROM EXCESSIVE USE OF ALCOHOL OR ANY USE OF
25

26           A NARCOTIC DRUG OR OTHER CONTROLLED SUBSTANCE WITHOUT A

27           PRESCRIPTION BY A LICENSED MEDICAL PRACTITIONER; AND YOU SHALL
28
             NOTIFY PRETRIAL SERVICES IMMEDIATELY OR ANY PRESCRIBED
     BIRD & VAN DYKE, INC.
     STIPULATION AND PROPOSED ORDER MODIFYING CONDITIONS OF RELEASE
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1           MEDICATION(S). HOWEVER, MEDICINAL MARIJUANA, PRESCRIBED OR NOT,
2
            MAY NOT BE USED.
3

4
                                              STIPULATION
5

6    Plaintiff, United States of America, by and through its counsel of record, and the defendant,

7    Juvenal Junez, by and through his counsel of record, hereby stipulate and request as follows:
8
        1. That Mr. Juvenal Junez has been under supervision since July, 2013. During this time,
9
            has submitted all clean drug tests, has continued to be employed, and has remained in
10
            contact with Pretrial Services weekly. He was initially ordered to abstain from alcohol.
11

12          Due to his clean testing for approximately seven months, Pretrial Services is now

13          recommending this condition to be modified as set forth above in item A.
14
        2. That on March 7, 2014, AUSA Christiaan Highsmith indicated to both US Pretrial
15
            Services Officer Darryl Walker and defendant’s counsel that he has no objections to the
16
            modification.
17

18

19   IT IS SO STIPULATED.                                 Respectfully submitted,
20

21   Dated: March 07, 2014                                ___/s/ authorized 03/07/14_____________
                                                          MARY ANN F. BIRD
22                                                        Attorney for Juvenal Junez
23

24   Dated: March 07, 2014                                ___/s/ authorized 03/07/14_____________
                                                          CHRISTIAAN HIGHSMITH
25                                                        Assistant United States Attorney
26

27

28

     BIRD & VAN DYKE, INC.
     STIPULATION AND PROPOSED ORDER MODIFYING CONDITIONS OF RELEASE
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1             IT IS SO ORDERED.
2
     Dated: March 12, 2014
3

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     Dad1.crim
6    Junez0166.stipo.modify.cor

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     BIRD & VAN DYKE, INC.
     STIPULATION AND PROPOSED ORDER MODIFYING CONDITIONS OF RELEASE
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